         Case 1:17-cv-11008-MLW Document 17 Filed 07/11/17 Page 1 of 4



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.,                             )
                                                   )
                             Plaintiff,            )
                                                   )    Civil Action No. l:17-cv-11008-MLW
                      v.                           )
                                                   )
CELLTRION HEALTHCARE CO., LTD.,                    )
CELLTRION, INC., and                               )
HOSPIRA, INC.,                                     )
                                                   )
                             Defendants.           )
                                                   )
                                                   )


         ASSENTED-TO DEFENDANTS’ MOTION FOR LEAVE TO IMPOUND
                CONFIDENTIAL PORTIONS OF DEFENDANTS’
                    MOTION TO DISMISS MEMORANDUM

       Pursuant to Local Rule 7.2(d) and the Stipulated Protective Order (Dkt. 170) in Janssen

Biotech, Inc. v. Celltrion Healthcare Co., Ltd. et al. No. 15-10698 (D. Mass), Defendants

Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc. (collectively “Defendants”),

hereby move this Court for an Order to impound or otherwise seal the following documents, on

the ground these documents contain or reveal Plaintiffs’, Defendants’ and/or third-party

confidential and proprietary information:

   •   Defendants’ Memorandum of Law In Support of Their Motion to Dismiss For Lack of
       Standing (“Defendants’ Memorandum”) (filed as C.A. No. 17-11008 Dkt. 14);

   •   Appendix A to Defendants’ Memorandum, compiled statements by Janssen and other
       Johnson & Johnson companies (filed as C.A. No. 17-11008 Dkt. 14-1);

   •   Exhibit 2 to Defendants’ Memorandum, Excerpts of the Deposition Transcript of Anne
       Martinson;

   •   Exhibit 3 to Defendants’ Memorandum, Excerpts of the Deposition Transcript of
       Kenneth Dow;
         Case 1:17-cv-11008-MLW Document 17 Filed 07/11/17 Page 2 of 4



   •   Exhibit 6 to Defendants’ Memorandum, Bates numbered JANREM0115562 through
       JANREM0115591;

   •   Exhibit 10 to Defendants’ Memorandum, Bates numbered JANREM0115489 through
       JANREM0115495;

   •   Exhibit 11 to Defendants’ Memorandum, Bates numbered JANREM0115483 through
       JANREM0115488;

   •   Exhibit 12 to Defendants’ Memorandum, Bates numbered JANREM0117891 through
       JANREM0117905;

   •   Exhibit 20 to Defendants’ Memorandum, Excerpts of the Deposition Transcript of David
       Epstein;

   •   Exhibit 21 to Defendants’ Memorandum, Excerpts of the Deposition Transcript of
       Christopher Marsh;

   •   Exhibit 23 to Defendants’ Memorandum, Excerpts of the Expert Report of Henry
       Grabowski;

   •   Exhibit 26 to Defendants’ Memorandum, Excerpts of the Deposition Transcript of Kirk
       Baumeister;

   •   Exhibit 27 to Defendants’ Memorandum, compiled correspondence with named inventors
       and related agreements, dated April-July 2015; and

   •   Exhibit 28 to Defendants’ Memorandum, compiled correspondence with named inventors
       and related agreements, dated August 2015.

       Defendants filed a publicly available, redacted version of the memorandum through the

electronic filing system.

       WHEREFORE, Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira

Inc. respectfully request that this Court allow this Motion.




                                                 2
        Case 1:17-cv-11008-MLW Document 17 Filed 07/11/17 Page 3 of 4



Dated: July 11, 2017                Respectfully submitted,

                                    Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                    and Hospira, Inc.

                                    By their attorneys,

                                    /s/Andrea L. Martin, Esq. ______________
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                                    Attorneys for Defendants Celltrion Healthcare
                                    Co., Ltd., Celltrion, Inc., and Hospira, Inc.




                                      3
         Case 1:17-cv-11008-MLW Document 17 Filed 07/11/17 Page 4 of 4



                                 LR 7.1(a)(2) CERTIFICATION

       I, Andrea L. Martin, hereby certify that Defendants’ counsel conferred with Plaintiff’s
counsel regarding this motion; Plaintiff assents to this Motion.

                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.




                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on July 11,
2017.

                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.




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